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                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION
BOBBY SINGLETON, et al.,       )
                               )
      Plaintiffs,              )
                               )
v.                             )    Case No.: 2:21-cv-1291-AMM
                               )
JOHN H. MERRILL,               )    THREE-JUDGE COURT
Secretary of State, et al.,    )
                               )
      Defendants.              )
__________________________________________________________________

EVAN MILLIGAN, et al.,                 )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     ) Case No.: 2:21-cv-01530-AMM
                                       )
JOHN H. MERRILL, in his                ) THREE-JUDGE COURT
Secretary of State of Alabama, et al., )
                                       )
      Defendants.                      )
__________________________________________________________________

MARCUS CASTER, et al.,                 )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )   Case No.: 2:21-cv-01536-AMM
                                       )
JOHN H. MERRILL,                       )
Secretary of State of Alabama, et al., )
                                       )
      Defendants.                      )
 DEFENDANTS’ RESPONSE TO THE COURT’S APRIL 7, 2022 ORDER REGARDING
       PLAINTIFFS’ REQUEST FOR DISCOVERY, BRIEFING, AND TRIAL
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                                 INTRODUCTION

      There are three challenges pending to Alabama’s 2021 congressional

redistricting plan. Two of them (Milligan and Caster) center on whether the State of

Alabama’s 2021 redistricting plan for its seven seats in the United States House of

Representatives violated Section 2 of the Voting Rights Act. That precise question

is now pending before the Supreme Court in both Merrill v. Milligan and Merrill v.

Caster. Nos. 21-1086 & 1087. For the third case (Singleton), the Supreme Court’s

answer to that question will necessarily inform plaintiffs’ challenge, and even “the

Singleton plaintiffs acknowledged that the proper interpretation of Section 2 can be

determinative of the merits of their constitutional claim.” Singleton Doc. 114 at 10.

      Thus, the parties and this Court must await the Supreme Court’s answer before

further litigating the legality of Alabama’s redistricting plan. Pressing ahead, as

Plaintiffs request, would be a waste of this Court’s and the parties’ resources, at best,

and would frustrate the Supreme Court’s appellate jurisdiction, at worst. Even for

cases that are merely related—let alone the very same case—awaiting “a federal

appellate decision that is likely to have a substantial or controlling effect on the

claims and issues in the stayed case” is “at least a good [reason], if not an excellent

one” for granting a stay of proceedings. Miccosukee Tribe of Indians v. S. Fla. Water

Mgmt. Dist., 559 F.3d 1191, 1198 (11th Cir. 2009).




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      Here, the reasons to await the Supreme Court’s decision could not be more

compelling. The Supreme Court has stayed this Court’s preliminary injunction order

and will now be giving plenary review to the Voting Rights Act claims made

regarding Alabama’s congressional districts. Separate opinions issued by Justice

Kavanaugh, joined by Justice Alito, and Chief Justice Roberts say expressly that the

Court will clarify the metes and bounds of Section 2: “[T]he Court’s case law in this

area is notoriously unclear and confusing.” Merrill v. Milligan, 142 S. Ct. 879, 881

(2022) (Kavanaugh, J., concurring). The Chief Justice agreed “that Gingles and its

progeny have engendered considerable disagreement and uncertainty regarding the

nature and contours of a vote dilution claim.” Id. at 882-83 (Roberts, C.J.,

dissenting). The Supreme Court is poised to “resolve the wide range of uncertainties

arising under Gingles” in this very case. Id. at 883. There is no conceivable reason

to press ahead in advance of the Supreme Court’s decision.

                                 BACKGROUND

      The Caster and Milligan Plaintiffs filed their complaints challenging

Alabama’s 2021 congressional redistricting plan on November 4 and November 16,

2021, respectively. See Caster Doc. 3; Milligan Doc. 1. Plaintiffs moved for

preliminary injunctions on December 15, 2021; this Court conducted hearings from

January 4 to January 12, 2022, and issued an order granting the Milligan and Caster

Plaintiffs a preliminary injunction on January 24, 2022. See Milligan Docs. 69, 107;


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Caster Docs. 56, 101. That order turned on the Court’s conclusion “that the Plan

substantially likely violates Section Two,” and that Plaintiffs’ approach to Section 2

did not violate the Equal Protection Clause. See, e.g., Milligan Doc. 107 at 196, 204-

06. The Court declined to opine on the Milligan or Singleton Plaintiffs’ arguments

that the plan violates the Equal Protection Clause as an unconstitutional racial

gerrymander. Id. at 216.

      On February 7, 2022, the Supreme Court noted probable jurisdiction in

Milligan and granted a petition for a writ of certiorari before judgment in Caster.

See Merrill, 142 S. Ct. 879. The Supreme Court has informed the parties that the

cases will be argued in the October 2022 Term, likely in the month of October. The

Court has ordered the parties to brief and argue the following Question Presented:

“Whether the State of Alabama’s 2021 redistricting plan for its seven seats in the

United States House of Representatives violated section 2 of the Voting Rights Act,

52 U.S.C. §10301.” March 21, 2022 Order Amending Question Presented. The

Supreme Court will thus be addressing the same question the Milligan and Caster

Plaintiffs seek to litigate in this Court over the same plan all three sets of Plaintiffs

have challenged.

                                    ARGUMENT

      1. The Milligan and Caster Plaintiffs seek to continue litigating in this Court

the exact same question that they are litigating before the Supreme Court—that is,


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whether an additional “majority-minority congressional district … is required by the

Voting Rights Act and not prohibited by the Equal Protection Clause.” Merrill, 142

S. Ct. at 881 (Kavanaugh, J., concurring). The Supreme Court’s resolution of the

question presented—“Whether the State of Alabama’s 2021 redistricting plan for its

seven seats in the United States House of Representatives violated section 2 of the

Voting Rights Act, 52 U.S.C. §10301”—will necessarily determine the next chapter

of the proceedings in this Court. Plaintiffs’ request that the parties press ahead here,

thereby ignoring the Supreme Court’s ongoing exercise of its appellate jurisdiction

in the same case, is an extraordinary one that should be rejected. Cf. Miccosukee

Tribe, 559 F.3d at 1198 (“await[ing] a federal appellate decision that is likely to have

a substantial or controlling effect on the claims and issues in the stayed case” is “at

least a good [reason], if not an excellent one” to stay a case); Kerotest Mfg. C. v. C-

O-Two Fire Equip. Co., 342 U.S. 180, 183 (1952) (judicial power to stay should be

exercised based on “[w]ise judicial administration, giving regard to conservation of

judicial resources and comprehensive disposition of litigation”); see also, e.g.,

Ferrari v. N. Am. Credit Servs., Inc., No. 8:21-CV-2520-KKM-AEP, 2022 WL

462078, at *2 (M.D. Fla. Feb. 15, 2022) (noting 30 cases stayed pending the

Eleventh Circuit’s consideration of an issue en banc); Robinson v. Nationstar

Mortg., LLC, 220 F. Supp. 3d 1353, 1355 (S.D. Ga. 2016) (granting stay pending




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appellate decision in different case); Lopez v. Miami-Dade Cty., 145 F. Supp. 3d

1206, 1208 (S.D. Fla. 2015) (same).

      Plaintiffs’ request is all the more extraordinary given the separate opinions

issued as part of the Supreme Court’s stay of this Court’s order. Multiple members

of the Supreme Court stated in opinions accompanying the stay that the Court would

be clarifying the rule of decision that applies in this Section 2 case and every other.

As Justice Kavanaugh stated, “the Court’s case law” regarding what “is required by

the Voting Rights Act and not prohibited by the Equal Protection Clause” “is

notoriously unclear and confusing.” Id. (Kavanaugh, J., concurring). Chief Justice

Roberts likewise stated that the Court will “resolve the wide range of uncertainties

arising under Gingles” when it decides Milligan and Caster. Id. at 883 (Roberts, C.J.,

dissenting). Moreover, Justice Kagan’s dissent portrayed the Court’s stay order as

being based on the “view that the law needs to change.” Id. at 889. There is no

conceivable reason for pressing ahead now, without that promised clarification for

the very standards that govern the Section 2 claims here.

      In light of the ongoing Supreme Court proceedings, Plaintiffs’ proposed

schedule for discovery over the fall and summary judgment motions and motions in

limine by December would be prejudicial to Defendants and an obvious waste of

litigant and judicial resources. Pressing ahead requires all parties to unnecessarily

expend litigation resources. Such costs could all be for naught (if Plaintiffs prevail,


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for example) or such costs will need to be repeated in whole or in part after the

Supreme Court rules (depending on how the Supreme Court modifies or clarifies the

rule of decision). Cf. Robinson, 220 F. Supp. 3d at 1355 (noting that “Defendants

would have to conduct discovery and trial preparation without any certainty

regarding” an important legal issue in the case). While a plaintiff might be willing

to take multiple shots trying to prove up multiple versions of a Section 2 case,

Defendants should not be forced to waste their resources litigating based on

predictions about what the Supreme Court will soon decide. Nor should this Court.

      Such concerns led the three-judge court in Benisek v. Lamone, 266 F. Supp.

3d 799 (D. Md. 2017), to sua sponte stay proceedings over a partisan gerrymandering

claim after the Supreme Court announced it would hear oral arguments in the related

partisan gerrymandering case of Gill v. Whitford, 138 S.Ct. 1916 (2018). While there

were slight differences between the cases (Gill involved “an Equal Protection claim

relating to statewide redistricting,” and Benisek “involve[d] a First Amendment

claim arising from the line-drawing of a single district,” Benisek, 266 F. Supp. 3d at

838 (Niemeyer, J., dissenting)), the court still concluded that the Supreme Court’s

“analysis undoubtedly will shed light on critical questions in this case, and the parties

and the panel will be best served by awaiting that guidance.” Id. at 815. To ensure it

could “correctly adjudicate” plaintiff’s claim, the court needed to “first insure that it

is proceeding on the correct legal foundation—that in measuring the legality and


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constitutionality of any redistricting plan in Maryland it is measuring that plan

according to the proper legal standard.” Id. Waiting for the Supreme Court’s

Whitford decision would leave the district court “better equipped to make that legal

determination and to chart a wise course for further proceedings.” Id. The same is all

the more true here, where the Supreme Court is currently adjudicating Plaintiffs’

very claims.

       Likewise, the three-judge court in Thomas v. Merrill, No. 21-cv-1531 (N.D.

Ala.), has stayed that Section 2 and Equal Protection Clause case pending the

Supreme Court’s forthcoming Section 2 decision in the cases here given the

overlapping nature of the legal claims in Thomas and the case before the Supreme

Court. See Order, Thomas v. Merrill, No. 2:21-cv-1531 (N.D. Ala. Mar. 21, 2022),

ECF No. 61. The same considerations undoubtedly counsel in favor of staying these

proceedings until the Supreme Court issues its decision in these very cases.

       2.      The Milligan Plaintiffs note that they also raise “a racial

gerrymandering claim, which is analytically distinct from their vote dilution claim

under the VRA.” Doc. 142 at 5 (quotation marks omitted). They then assert that the

Supreme Court’s forthcoming Milligan decision “will change neither the facts nor

law by which this Court decides the racial gerrymandering claim,” citing among

other cases the Supreme Court’s recent decision regarding Wisconsin’s state maps.

Id. at 5-6.


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      Contrary to Plaintiffs’ arguments, the dispute in Wisconsin underscores the

connection between Section 2 and the Equal Protection Clause in redistricting cases.

In Wisconsin Legislature v. Wisconsin Elections Commission, No. 21A471, 2022

WL 851720, at *1 (U.S. Mar. 23, 2022), the Wisconsin Supreme Court had invited

the parties to propose for adoption maps that complied with state and federal law.

The state court then selected the governor’s map, which “intentionally created seven

majority-black districts—one more than the current map,” after the governor had

“argued that the addition of a seventh majority-black district was necessary for

compliance with the VRA.” Id. It was that Section 2 issue that raised Equal

Protection Clause questions over whether the governor or the Wisconsin Supreme

Court could “shoulder strict scrutiny’s burden” to lawfully impose a “race-based”

map. Id. at *2-3.

      Here too, in Milligan and Caster, the State has argued all along that Plaintiffs’

conception of Section 2 is at odds with the Equal Protection Clause. And the

Supreme Court will necessarily have to consider what Section 2 can require of a

State in light of the Equal Protection Clause’s constitutionally prescribed guardrails.

As Justice Kavanaugh described it, the Supreme Court will be deciding “whether a

second majority-minority congressional district (out of seven total districts in

Alabama) is required by the Voting Rights Act and not prohibited by the Equal

Protection Clause.” Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring) (emphasis


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added). The Supreme Court will address the reach of Section 2 in light of

Defendants’ argument (among others) that Section 2 cannot be interpreted to require

what could otherwise be deemed an unconstitutional racial gerrymander. The

pending appeal thus necessarily raises questions about how the Equal Protection

Clause limits a legislature’s discretion in redistricting. As illustrated by the stay in

the Thomas litigation, which also raises Equal Protection Clause claims, litigants and

the Court ought to have the benefit of the Supreme Court’s ruling on that inextricably

intertwined Equal Protection Clause issue before pressing ahead with their Equal

Protection Clause claims.

      Indeed, when the Singleton Plaintiffs requested that this Court rule on their

constitutional claim after the Supreme Court decided to review Milligan and Caster,

this Court declined. This Court rejected the view that “the Singleton

plaintiffs’ … constitutional claim is simple and their motion for preliminary

injunction must be decided now, before the Supreme Court can weigh in on the

‘complex and delicately balanced requirements’ that are relevant to the merits of the

claim and the relief the Singleton plaintiffs seek.” Singleton Doc. 114 at 10 (quoting

Abbott v. Perez, 138 S.Ct. 2305, 2314 (2018)). It similarly makes sense to wait for

the Supreme Court to weigh in before pressing forward with the Milligan Plaintiffs’

similar constitutional claims.




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      Additionally, as this Court noted in its preliminary injunction order and order

denying the Singleton Plaintiffs’ recent motions for rulings following the Supreme

Court’s decision to review Milligan and Caster, the canon of constitutional

avoidance cautions against addressing Plaintiffs’ constitutional claims until

necessary. If Plaintiffs prevail on their Section 2 claims, there will be no need for

this Court to rule on the constitutional claims. Milligan Doc. 107 at 216-17; see also

Singleton Doc. 114 at 11 (“[W]e adhere to our view that we should not decide any

constitutional claims before we must.”).

      3.     Finally, after the Supreme Court rules, there will be time for further

proceedings in this Court in advance of relevant deadlines for the 2024 elections.

Plaintiffs note that the Court is likely to rule between February and June 2023. Closer

to February is more probable. Over the past few years, the Supreme Court has

decided several redistricting cases promptly, taking around four months from oral

argument to final decision, even where Justices have penned concurrences and

dissents. See Ala. Legis. Black Caucus v. Alabama, 575 U.S. 254 (2015) (argued

Nov. 12, 2014, and decided four-and-one-half months later on March 25, 2015);

Bethune-Hill v. Va. St. Bd. of Elections, 137 S. Ct. 788 (2017) (argued Dec. 5, 2016,

decided three months later on March 1, 2017); Cooper v. Harris, 137 S. Ct. 1455

(2017) (argued Dec. 5, 2016, and decided six months later on May 22, 2017); Abbott

v. Perez, 138 S. Ct. 2305 (2018) (argued April 24, 2018, and decided two months


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June 25, 2018). Meanwhile, the qualifying deadline for the 2024 election is not until

November 10, 2023.1

       There will thus be ample time after the Supreme Court rules, whenever and

however the Court rules. Of course, if Plaintiffs prevail, this Court’s preliminary

injunction would be restored and any litigation between now and then would have

proven a waste. And if Defendants prevail, there is time to address any remaining

claims as clarified by the Supreme Court. Even a decision in May or June would

leave months more time between the Supreme Court’s decision and candidate

qualifying for the 2024 election than the parties had in the first round of litigation

between mid-November 2021 and the January 2022 close of qualifying. Plus,

Plaintiffs will have the benefit of having already developed considerable evidence

this past January. Thus, any gains from trying to litigate these cases while

simultaneously anticipating how the Supreme Court will rule on Section 2’s

application to Alabama’s congressional map “would be greatly outweighed by the

efficiency costs of charging ahead only to later learn that Plaintiffs must return to

square one (or, perhaps, that their action is no longer viable).” Benisek, 266 F. Supp.

3d at 815-16.




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         In Presidential election years, such as 2024, Alabama holds its primary election on the
first Tuesday in March. Ala. Code § 17-13-3(b). In 2024, that will be March 5. The qualifying
deadline occurs 116 days before the primary, Ala. Code § 17-13-5(a), which for the next cycle
will be November 10, 2023.
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      One final point: Plaintiffs say that “Defendants have informed Plaintiffs’

counsel that, under Defendants’ view of Purcell v. Gonzalez, 549 U.S. 1 (2006), any

potential final order of this Court that grants relief after September 10, 2023, will be

too late to affect the November 5, 2024 congressional elections.” Doc. 142 at 3.

That’s not quite right. Defendants certainly do not waive any defense they may have

under Purcell, and it is true that Defendants agree that “‘a court should have as its

goal the imposition of a plan no later than one month before candidates may begin

qualifying for the primary ballot….’” Favors v. Cuomo, 881 F. Supp. 2d 356, 364

(E.D.N.Y. 2012) (quoting Persily, When Judges Carve Democracies: A Primer on

Court-Drawn Redistricting Plans, 73 Geo. Wash. L. Rev. 1131, 1147 (2005)). But

Purcell does not impose a bright-line rule or any particular date beyond which a

Court is unable to act. Applying Purcell entails balancing case-specific factors. See,

e.g., Milligan, 142 S. Ct. at 881 (Kavanaugh, J., concurring). Defendants cannot say

now how this equitable balance would tilt when they do not know the date or scope

of a hypothetical ruling, but Defendants can say that the Supreme Court’s ruling is

certain to affect the next stage of this case—after all, it is the same case. And

Defendants can say this Court is virtually certain to have significantly more time

between the Supreme Court’s ruling and candidate qualifying for 2024 than this

Court had between the filing of these suits and candidate qualifying in January 2022.




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                                      *     *    *

      Milligan and Caster are pending before the Supreme Court, which will soon

answer the question whether Alabama’s congressional districting plan violated

Section 2. In doing so, the Court will necessarily opine on the Equal Protection

Clause and the limits it places on Section 2 liability. In the face of the Supreme

Court’s exercise of its appellate jurisdiction, Plaintiffs propose plunging deeper into

the uncertainty—with costly discovery, briefing, and even a trial over whether

Alabama’s map has violated a standard we won’t yet know until next Term. Waste

of party and judicial resources is a certainty, clearly prejudicing Defendants. There

will be sufficient time to continue in the ordinary course: wait for the Supreme Court

to decide the appeal of Plaintiffs’ Section 2 claims, and then return to this Court with

ample time before the 2024 election deadlines. For these reasons, Defendants oppose

moving forward on Plaintiffs’ claims until the Supreme Court has ruled in Milligan

and Caster.

                                          Respectfully Submitted,

                                          Steve Marshall
                                          Attorney General

                                          Edmund G. LaCour Jr.
                                          Edmund G. LaCour Jr. (ASB-9182-U81L)
                                           Solicitor General
                                          Thomas A. Wilson (ASB-1494-D25C)
                                           Deputy Solicitor General
                                          James W. Davis (ASB-4063-I58J)
                                           Deputy Attorney General
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                             OFFICE OF THE ATTORNEY GENERAL
                             STATE OF ALABAMA
                             501 Washington Avenue
                             P.O. Box 300152
                             Montgomery, Alabama 36130-0152
                             Telephone: (334) 242-7300
                             Edmund.LaCour@AlabamaAG.gov
                             Thomas.Wilson@AlabamaAG.gov
                             Jim.Davis@AlabamaAG.gov

                             Counsel for Secretary Merrill

                             s/ Dorman Walker (with permission)
                             Dorman Walker (ASB-9154-R81J)
                             BALCH & BINGHAM LLP
                             Post Office Box 78 (36101)
                             105 Tallapoosa Street, Suite 200
                             Montgomery, AL 36104
                             Telephone: (334) 269-3138
                             Email: dwalker@balch.com

                             Counsel for Sen. McClendon and Rep.
                             Pringle




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                             CERTIFICATE OF SERVICE

      I certify that on April 12, 2022, I electronically filed the foregoing notice with

the Clerk of the Court using the CM/ECF system, which will send notice to all

counsel of record.

                                        /s/ Edmund G. LaCour Jr.
                                        Counsel for Secretary Merrill




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